
705 S.E.2d 740 (2011)
STATE of North Carolina
v.
Gregory Ellis DAVIS.
No. 523P10.
Supreme Court of North Carolina.
February 3, 2011.
Richard A. Graham, Assistant Attorney General, for State of North Carolina.
Gregory Ellis Davis, for Davis, Gregory Ellis.
Thomas J. Keith, District Attorney, for State.

ORDER
Upon consideration of the petition filed on the 17th of December 2010 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:

*741 "Denied by order of the Court in conference, this the 3rd of February 2011."
JACKSON, J. recused.
